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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


_________________________________
                                  )
                                  )
UNITED STATES OF AMERICA,         )
                                  )
      v.                          )              Criminal Action No. 21-087 (TJK)
                                  )
MICHAEL SPARKS, et al.,           )
                                  )
                    Defendants.   )
_________________________________ )


                      MOTION OF DEFENDANT SPARKS TO
                      WITHDRAW WAIVER OF JURY TRIAL

       Comes the defendant, Michael Sparks, by counsel, and moves the Court for leave to

withdraw his previously filed waiver of jury trial herein. (DN 36). Mr. Sparks has advised

counsel that he now wishes to proceed to trial by jury.



                                            /s/ Scott T. Wendelsdorf (Ky. Bar. No. 75790)
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                                            Counsel for Defendant.
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                                      CERTIFICATE

          I hereby certify that on February 17, 2023, I electronically filed the foregoing with
the clerk of the court by using the CM/ECF system, which will send a notice of electronic
filing to all counsel of record.


                                             /s/ Scott T. Wendelsdorf




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